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12
                                UNITED STATES DISTRICT COURT
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14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                           WESTERN DIVISION
16

17
         ROBERT ANDERSON, et al.,                      Case No. 2:21-cv-09102-VAP-PD
18

19                           Plaintiffs,               DEFENDANT UNITED
                                                       STATES OF AMERICA’S
20
               v.                                      NOTICE OF MOTION
21                                                     TO DISMISS &
22
         UNITED STATES OF AMERICA,                     MEMORANDUM OF POINTS
                                                       AND AUTHORITIES IN
23
                             Defendant.                SUPPORT
24
                                                       Motion Hearing:
25
                                                       August 1, 2022 at 2 pm
26                                                     Honorable Virginia A. Phillips
27

28



      USA’s Notice of Motion and Motion to Dismiss
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 1                              NOTICE OF MOTION AND MOTION
 2            PLEASE TAKE NOTICE that on August 1, 2022, at 2:00 p.m. in the First
 3    Street Courthouse, located on the 6th Floor of 350 West 1st Street, Los Angeles,
 4    California 90012, Defendant United States of America (the “United States” or
 5    “Government”) will move to dismiss this action pursuant to Fed. R. Civ. P.
 6    (“FRCP”) 12(b)(1) & 12(b)(6). The motion is based on this notice, the following
 7    memorandum of points and authorities, a reply brief, and such oral argument as the
 8    Court may permit. This motion is made following the Conference of Counsel,
 9    pursuant to L.R. 7-3, which took place on May 24, 2022.
10                                            RELIEF SOUGHT
11            Pursuant to FRCP 12(b)(1) & 12(b)(6), the United States moves the Court to
12    dismiss this lawsuit brought by Plaintiffs under the Federal Tort Claims Act, 28
13    U.S.C. §§ 1346(b), 2671-2680 (“FTCA”). This action should be dismissed with
14    prejudice and without leave to amend because Plaintiffs (1) have not alleged facts
15    sufficient to establish subject-matter jurisdiction, and (2) have failed to state a
16    claim upon which relief can be granted for any individual plaintiff. 1
17          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
18                                            INTRODUCTION
19            Plaintiffs’ Second Amended Complaint (the “SAC”) groups together
20    approximately 50 separate, personal injury claims in just 90 paragraphs of
21    allegations. Plaintiffs consist of former service members, their spouses, children,
22    and/or survivors or personal representatives of deceased individuals who assert
23    personal injury or wrongful death claims stemming from alleged exposure to
24    “toxic, hazardous, and radioactive waste” while living at or near former George
25    Air Force Base (“GAFB”), a former 5,000+ acre base in Victorville, California,
26

27
      1In the event the Court were to decline to dismiss the action at this juncture, the
      United States reserves the right to seek dismissal on other grounds as appropriate
28
      based on the discovery of additional information about the claims in the case.

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 1     that was used to train pilots and bombardiers during World War II and the Cold
 2     War. The SAC falls woefully short of meeting federal pleading standards, failing
 3     to provide the threshold factual support necessary to (1) establish subject-matter
 4     jurisdiction, and (2) state a claim upon which relief can be granted on behalf of any
 5     individual plaintiff.
 6             Plaintiffs’ SAC should be dismissed in its entirety because it fails on its face
 7     to allege facts sufficient to establish subject-matter jurisdiction. Under the FTCA’s
 8     discretionary function exception, the United States retains immunity from claims
 9     challenging discretionary governmental conduct that is susceptible to policy
10     analysis. 28 U.S.C. § 2680(a); United States v. Gaubert, 499 U.S. 315, 322-23
11     (1991). Here, Plaintiffs fail to plead any claims that are not facially barred by the
12     FTCA’s discretionary function exception, identifying no Government violations of
13     any mandatory and specific federal requirements regarding use, disposal,
14     remediation, or warnings related to alleged toxic, hazardous, or radioactive waste
15     at GAFB. Likewise, Plaintiffs fail to allege any facts rebutting the presumption
16     that the Government’s actions were grounded in policy. That is because Plaintiffs’
17     claims necessarily challenge discretionary conduct that is susceptible to policy
18     analysis. Additionally, under the Feres doctrine, as articulated in Feres v. United
19     States, 340 U.S. 135, 146 (1950), the United States retains immunity for injuries
20     “incident” to military service. Here, the personal injury claims of Plaintiffs F.V.
21     and M.V. are barred by the Feres doctrine because they are incident to active-duty
22     military service.
23             Furthermore, the SAC should be dismissed because each plaintiff fails to
24     state a plausible claim under federal pleading standards. As an initial matter,
25     Plaintiffs fail to provide the necessary factual detail regarding each plaintiff’s
26     exposure claim. Rather than identifying the specific contaminant(s) underlying
27     each exposure claim and providing details about when, where, or how any alleged
28     exposure took place, Plaintiffs identify dozens of substances found at GAFB


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 1     during the Air Force’s environmental cleanup efforts and allege in blanket fashion
 2     exposure to undefined “toxic, hazardous, and radioactive waste” by virtue of living
 3     at or near the base. Moreover, Plaintiffs fail to provide necessary factual detail
 4     about each plaintiff’s alleged injuries. Each plaintiff asserts a laundry list of
 5     alleged injuries but fails to provide necessary facts about when the alleged injuries
 6     were discovered or the basis for believing that any alleged injuries were caused by
 7     exposure to contaminants at GAFB. Lastly, Plaintiffs fail to adequately identify or
 8     define the alleged wrongful conduct of the United States. Instead, Plaintiffs assert
 9     sweeping allegations consisting primarily of unsupported, conclusory statements
10     and a formulaic recitation of the elements for a negligence claim. Consequently,
11     the United States is unable to properly evaluate Plaintiffs’ claims or its possible
12     defenses.
13             Accordingly, Plaintiffs’ SAC should be dismissed with prejudice and without
14     leave to amend.
15                                      FACTUAL BACKGROUND
16     I.      Former George Air Force Base
17             GAFB is a former 5,000+ acre Air Force base located 90 miles northwest of
18     Los Angeles in Victorville, California. The base was originally known as
19     Victorville Army Airfield and established in 1941 to train pilots and bombardiers
20     during World War II. After World War II, all flying operations were discontinued
21     as part of a nationwide demobilization, but, following the outbreak of the Korean
22     War in 1950, the base was reopened by the Air Force and renamed GAFB. Over
23     the course of four-plus decades, fighter pilots were trained in a variety of aircrafts
24     to carry out strategic military objectives, to support tactical fighter operations, and
25     to provide training for air crews and maintenance personnel. GAFB also provided
26     combat training for NATO (primarily West German) pilots, provided forces in
27     support of the 26th North American Aerospace Defense Command (NORAD)
28     region from 1966-1990, and provided forces in support of strike missions in


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 1     Vietnam. GAFB was officially decommissioned and closed in 1992 at the end of
 2     the Cold War. After its closing, much of the property was transferred to the South
 3     California Logistics Airport Authority. Today, the property is home to a number
 4     of aviation-related businesses and a community college, which trains aircraft
 5     mechanics. 2
 6             While GAFB was operational, many routine aircraft maintenance tasks
 7     involved use and disposal of chemicals such as jet fuel, gasoline, paints, and
 8     solvents, and military training exercises included the use of a variety of munitions.
 9     The Air Force has dedicated significant effort and resources to ensure that any
10     chemicals that potentially affected soil and groundwater at or near GAFB were
11     remediated and pose no public health hazards. The Air Force began its
12     remediation and clean-up efforts in 1981, which include regular sampling and
13     monitoring of soil and groundwater. These efforts remain ongoing today. Notably,
14     the Agency for Toxic Substances and Disease Registry (ATSDR) performed Public
15     Health Assessments in 1998 and 2013 and confirmed that soil and groundwater at
16     or near GAFB do not present a past, present, or future public health hazard. 3
17     II.     Plaintiffs’ FTCA Action
18             Plaintiffs filed this FTCA action on November 19, 2021. [Dkt. 1.] After
19     amending their Complaint once on December 10, 2021, and again, on February 16,
20     2022, Plaintiffs served the United States with the SAC on March 3, 2022. [Dkts.
21     11, 13, 17.]
22             In their SAC, approximately 50 Plaintiffs, individually and, purportedly, on
23     behalf of others, assert FTCA personal injury claims against the United States.
24     [SAC, Dkt. 13, passim.] In a single cause of action for negligence, the SAC
25

26     2 See Former George Air Force Base Summary & FAQs, Air Force Civil Engineer
27
       Center, available at https://www.afcec.af.mil/Home/BRAC/George.aspx (last
       accessed on June 2, 2022).
28     3 Id.



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 1     broadly alleges that the Air Force “failed to exercise reasonable care in that [it]
 2     failed to properly use, maintain, and dispose of the toxic, hazardous, and
 3     radioactive substances used at and deposited on former George Air Force Base”
 4     and that the Air Force failed to warn about “adverse health effects of the dangers of
 5     exposure to the toxic, hazardous, and radioactive substances in the soils,
 6     groundwater, and water supply, and related airborne release of these substances…
 7     .” [SAC, Dkt. 13, ¶¶ 82, 85-87.]
 8             The Court approved the Parties’ joint stipulation to extend the United States’
 9     responsive pleading deadline until June 2, 2022. The United States now timely
10     moves to dismiss Plaintiffs’ SAC pursuant to FRCP 12(b)(1) & 12(b)(6).
11                                                ARGUMENT
12     I.      This Lawsuit Should Be Dismissed under FRCP 12(b)(1) for Lack of
13             Subject-Matter Jurisdiction.
14             A. Plaintiffs Bear the Burden of Proving that Subject-Matter
15                 Jurisdiction Exists.
16             FRCP 12(b)(1) allows a defendant to seek dismissal of a claim or action for
17     lack of subject-matter jurisdiction. “A motion to dismiss for lack of subject matter
18     jurisdiction under Federal Rule of Civil Procedure 12(b)(1) may challenge
19     jurisdiction either on the face of the pleadings or by presenting extrinsic evidence
20     for the court's consideration.” Siofele v. Duncan, 09-CV-2800, 2009 WL
21     10674359, at *1 (C.D. Cal. Sept. 14, 2009) (citing Safe Air for Everyone v. Meyer,
22     373 F.3d 1035, 1039 (9th Cir. 2004)). “When an attack is facial, the court confines
23     its inquiry to allegations in the complaint, and when factual, the court may look
24     beyond the complaint.” Id. (citing White v. Lee, 227 F.3d 1214, 1242 (9th Cir.
25     2000)). The Court may consider affidavits, declarations, or other evidence without
26     converting the motion into a summary judgment motion under FRCP 56. Id.
27             Plaintiffs bear the burden of proving that this action is properly in federal
28     court. In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 546 F.3d


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 1     981, 984 (9th Cir. 2008) (citing Kokkonen v. Guardian Life Ins. Co of Am., 511
 2     U.S. 375, 377 (1994)); see also J.R. by and through Rizzi v. Palos Verdes
 3     Peninsula Unified School District, 21-CV-07656, 2021 WL 4553056, at *1 (C.D.
 4     Cal. Oct. 5, 2021) (“A ‘plaintiff bears the burden of proving’ the existence of
 5     subject matter jurisdiction and ‘must allege facts, not mere legal conclusions’ to
 6     invoke the court’s jurisdiction.”) (internal citation omitted). The Court must
 7     ensure that it has subject-matter jurisdiction at the outset before proceeding with
 8     the merits of a case. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94–
 9     95 (1998); Carl’s Jr. Rest. LLC v. 6Points Food Serv. Ltd, 15-CV-9827, 2016 WL
10     8849026, at *1 (C.D. Cal. Jan. 8, 2016) (“As a court of limited jurisdiction, [] we
11     must determine the issue of subject matter jurisdiction before reaching the merits
12     of a case.”) (internal citations omitted). “Dismissal for lack of subject matter
13     jurisdiction is appropriate if the complaint, considered in its entirety, on its face
14     fails to allege facts sufficient to establish subject matter jurisdiction.” In re
15     Dynamic Random Access Memory (DRAM) Antitrust Litig., 546 F.3d at 984-85.
16             Here, Plaintiffs have not alleged facts sufficient to establish subject-matter
17     jurisdiction, and the United States has not waived sovereign immunity as to
18     Plaintiffs’ claims. See United States v. Orleans, 425 U.S. 807, 814 (1976) (stating
19     that, as the sovereign, the United States “can be sued only to the extent that it has
20     waived its immunity” from suit). Plaintiffs have sued the United States under the
21     FTCA, which waives the United States’ immunity for certain tort claims
22     committed by an “employee of the Government while acting within the scope of
23     his office or employment, under circumstances where the United States, if a private
24     person, would be liable to the claimant in accordance with the law of the place
25     where the act or omission occurred.” 28 U.S.C. § 1346(b)(1). However, there are
26     exceptions to this waiver of sovereign immunity, two of which apply to bar
27     Plaintiffs’ claims in this case. Plaintiffs cannot establish subject-matter jurisdiction
28     because (1) Plaintiffs’ claims are barred by the discretionary function exception of


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 1     the FTCA, and (2) the personal injury claims of Plaintiffs F.V. and M.V. are barred
 2     by the Feres doctrine because they are incident to active-duty military service.
 3     Accordingly, the Court should dismiss Plaintiffs’ SAC in its entirety for lack of
 4     subject-matter jurisdiction.
 5             B. This Court Lacks Subject-Matter Jurisdiction Because Plaintiffs’
 6                 Claims Are Barred by the FTCA’s Discretionary Function
 7                 Exception.
 8                        i. Plaintiffs’ Claims Challenge Discretionary Governmental
 9                            Conduct that is Susceptible to Policy Analysis.
10             The discretionary function exception of the FTCA bars each plaintiff’s
11     claims in this lawsuit. 28 U.S.C. § 2680(a). The exception “marks the boundary
12     between Congress’ willingness to impose tort liability upon the United States and
13     its desire to protect certain governmental activities from exposure to suit by private
14     individuals.” Berkovitz v. United States, 486 U.S. 531, 536 (1988) (internal quotes
15     omitted). The basis for the discretionary function exception was Congress’ desire
16     “to prevent judicial ‘second-guessing’ of legislative and administrative decisions
17     grounded in social, economic, and political policy through the medium of an action
18     in tort.” United States v. Varig Airlines, 467 U.S. 797, 814 (1984).
19             Courts employ the Supreme Court’s two-part test to determine whether the
20     discretionary function exception applies to particular claims. Kim v. United States,
21     940 F.3d 484, 487 (9th Cir. 2019). First, for the exception to apply, the alleged
22     conduct must not have been subject to a federal statute, regulation, or policy that
23     prescribes a specific course of action for a government employee to follow. See
24     Gaubert, 499 U.S. at 322; Berkovitz, 486 U.S. at 536; Kennewick Irr. Dist. v.
25     United States, 880 F.2d 1018, 1027 (9th Cir. 1989) (stressing that the applicable
26     rule or policy must be both mandatory and specific to defeat part one of the test).
27     Second, assuming that the government had discretion, the exception applies if the
28     alleged negligent conduct was “susceptible” to analysis involving social,


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 1     economic, or political policy considerations. Gaubert, 499 U.S. at 322-23;
 2     Berkovitz, 486 U.S. at 536-37. The exception applies regardless of whether the
 3     Government was negligent. See Routh v. United States, 941 F.2d 853, 855 (9th
 4     Cir. 1991).
 5             Significantly, a plaintiff “can invoke jurisdiction only if the complaint is
 6     facially outside the exceptions of [28 U.S.C.] § 2680” and “may not invoke federal
 7     jurisdiction by pleading matters that clearly fall within the exceptions of § 2680.”
 8     Prescott v. United States, 973 F.2d 696, 701 (9th Cir. 1992) (quoting Carlyle v.
 9     United States, 674 F.2d 554, 556 (6th Cir.1982)). Thus, “[a]lthough the United
10     States bears the ‘ultimate burden of proving’ the discretionary function exception
11     applies, ‘a plaintiff must advance a claim that is facially outside the discretionary
12     function exception in order to survive a motion to dismiss.’” J.G. v. United States,
13     19-CV-623, 2019 WL 3555183, at *3 (N.D. Cal. 2019) (quoting Prescott, 973 F.2d
14     at 702 n. 4); see also Doe v. Holy See, 557 F.3d 1066, 1084 (9th Cir. 2009).
15             As explained below, Plaintiffs have failed to advance any claim that is
16     facially outside of the discretionary function exception in order to survive a motion
17     to dismiss.
18                       ii. The Discretionary Function Exception’s First Criterion is
19                            Satisfied Because Plaintiffs Fail to Allege a Violation of a
20                            Specific and Mandatory Federal Requirement Regarding Toxic,
21                            Hazardous, or Radioactive Waste at GAFB.
22             The “identification of a mandatory duty is a threshold requirement” to defeat
23     the discretionary function exception. Terbush v. United States, 516 F.3d 1125,
24     1135 (9th Cir. 2008). A complaint must plead with specificity the federal statute,
25     regulation, or policy containing the mandatory and specific directive that allegedly
26     strips the United States of discretion. Simply alleging that the United States “‘did
27     not have discretionary decision’” is not enough. J.G., 2019 WL 3555183, at *3.
28     Likewise, “[b]road allegations regarding undefined ‘policies and practices’ are


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 1     insufficient under clear Ninth Circuit precedent.” Dichter-Mad Fam. Partners,
 2     LLP v. United States, 707 F. Supp. 2d 1016, 1040 (C.D. Cal. 2010) (quoting Doe,
 3     557 F.3d at 1084-85), aff’d, 709 F.3d 749 (9th Cir. 2013); see also Ghazarian v.
 4     Republic of Turkey, 19-CV-4664, 2021 WL 5934471, at *4 (C.D. Cal. 2021)
 5     (holding that allegations of mandatory directives in “legislative, executive,
 6     administrative and other official and/or unofficial acts” was insufficient).
 7             The Ninth Circuit Court of Appeals and federal district courts in California,
 8     including the Central District of California, have repeatedly held that a complaint’s
 9     failure to sufficiently plead a mandatory and specific directive satisfies the first
10     prong of the discretionary function exception. See, e.g., Doe, 557 F.3d at 1084
11     (“Yet nowhere does Doe allege the existence of a policy that is
12     “specific and mandatory” on the Holy See. He does not state the terms of this
13     alleged policy, or describe any documents, promulgations, or orders embodying
14     it.”) (emphasis within); Sanchez v. United States, 18-CV-1550, 2020 WL 1157200,
15     at *3 (S.D. Cal. 2020) (“the first step of the test is satisfied because Sanchez fails
16     to identify a federal statute, regulation, or policy that required specific course of
17     action”); Ard v. F.D.I.C., 770 F. Supp. 2d 1029, 1036 (C.D. Cal. 2011) (“Plaintiffs
18     have not identified, nor can the court locate, any federal statute, regulation, or
19     policy that applies to the conduct challenged in this action”); Dichter-Mad, 707 F.
20     Supp. 2d at 102 (“What is lacking in the present Complaint, however, is any
21     plausible allegation revealing that the SEC violated its clear, non-discretionary
22     duties, or otherwise undertook a course of action that is not potentially susceptible
23     to policy analysis.”), aff’d, 709 F.3d 749 (9th Cir. 2013).
24             Here, Plaintiffs fail to plead any claims outside the first criterion of the
25     discretionary function exception because they cannot point to any federal statute,
26     regulation, or policy containing a mandatory requirement that prescribes a specific
27     course of conduct that the United States failed to follow regarding use, disposal,
28     remediation, or warnings related to alleged toxic, hazardous, or radioactive waste


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 1     at GAFB. The allegations contained in Paragraph 61 of the SAC represent
 2     Plaintiffs only attempt to identify applicable non-discretionary language. In
 3     Paragraph 61, Plaintiffs concede that Air Force Technical Order 00-110A-1
 4     “allowed the disposal of solid radioactive waste by burial,” but allege that “[t]his
 5     was ultimately reversed in 1971 by technical order 00-110N-2, which required
 6     transfer of radioactive waste to an authorized disposal site.” [SAC, Dkt. 13, ¶ 61.]
 7     Plaintiffs, however, fail to point to any actual mandatory and specific language in
 8     Air Force Technical Order 00-110N-2, and they do not allege that the Government
 9     violated that technical order. That is because the Air Force complied with
10     Technical Order 00-110N-2, which continued to allow the burial of radioactive
11     waste with permission from the USAF Radioisotope Committee and left the
12     maintenance of existing burial sites to the discretion of the Air Force. Moreover,
13     Air Force Technical Order 00-110N-2 is limited to disposal of radioactive waste,
14     whereas Plaintiffs’ claims are more broadly based on exposure to “toxic,
15     hazardous, and radioactive waste” with the SAC identifying dozens of
16     contaminants found during the Air Force’s environmental cleanup efforts at
17     GAFB. [SAC, Dkt. 13, ¶ 71-79.] Plaintiffs make no attempt in the SAC to
18     identify a mandatory and specific requirement applicable to the other possible
19     contaminants at issue. They cannot because the Air Force’s decisions regarding
20     use, disposal, remediation, or warnings related to alleged toxic, hazardous, or
21     radioactive waste at GAFB were discretionary. As such, the first criterion of the
22     discretionary function is satisfied.
23             Indeed, the Ninth Circuit and California district courts have repeatedly
24     dismissed FTCA claims, finding that military and wartime decisions regarding use,
25     disposal, investigation, remediation, and warnings related to alleged environmental
26     contaminants are discretionary and satisfy the first step of the discretionary
27     function exception. See, e.g., Savary v. United States, 205 F.3d 1352, at *3-4 (9th
28     Cir. 1999) (holding that decisions of Army and NASA regarding waste disposal,


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 1     cleanup, safety, supervision, and warnings were discretionary in an FTCA
 2     wrongful death case stemming from alleged exposure to hazardous chemicals
 3     contaminating soil and water); In re Consol. U.S. Atmospheric Testing Litig., 820
 4     F.2d 982, 998 (9th Cir. 1987) (holding that discretionary function exception barred
 5     claims for personal injury and failure to warn arising from alleged exposure to
 6     radiation from a nuclear weapons testing program that took place during the end of
 7     WWII until 1963); City of Lincoln v. United States, 283 F. Supp. 3d 891, 901–03
 8     (E.D. Cal. 2017) (holding that Air Force’s decisions regarding disposal of
 9     hazardous waste from an intercontinental ballistic missile facility in the 1960s were
10     discretionary); Welsh v. U.S. Army, 08-CV-3599, 2009 WL 250275, at *1 (N.D.
11     Cal. Feb. 3, 2009) (holding that the Army had discretion in its decisions to parcel
12     off Fort Ord property, to lease and sell the property, and on how to remediate the
13     property); Shea Homes v. United States, 397 F. Supp. 2d 1194, 1200-01 (N.D. Cal.
14     2005) (holding that the Army Corps of Engineers' decisions on how to evaluate and
15     address public health and environmental threats were discretionary).4
16

17
       4  Likewise, other circuit and district courts across the country have reached the
       same conclusion. See, e.g., Ross v. United States, 129 Fed. App’x. 449 (4th Cir.
18
       2005) (holding that Air Force decisions regarding use, disposal, and warnings
19     related to TCE, which allegedly was buried, permeated groundwater, and migrated
20
       to neighboring properties, were discretionary); Loughlin v. United States, 393 F.3d
       155, 164-65 (D.C. Cir. 2004) (in a case involving chemical warfare research and
21     testing during World War I, holding that Army’s decisions regarding handling,
22     disposal, remediation, and warnings related to buried chemical weapons were
       discretionary); OSI, Inc. v. United States, 285 F.3d 947, 952 (11th Cir. 2002)
23
       (holding that Air Force decisions regarding waste disposal from 1956 to early
24     1970s were discretionary); Aragon v. United States, 146 F.3d 819, 823–26 (10th
25
       Cir. 1998) (holding that Air Force’s decisions regarding disposal of TCE-
       contaminated wastewater from 1942 to 1967 were discretionary); In re Camp
26     Lejeune N. Carolina Water Contamination Litig., 263 F. Supp. 3d 1318, 1343-58
27     (N.D. Ga. 2016), aff'd, 774 F. App'x 564 (11th Cir. 2019) (holding that Marine
       Corps’ decisions regarding use, disposal, warnings related to TCE and PCE-
28
       contaminated water from the 1950s to 1980s were discretionary); Horton v. United

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 1             In short, the challenged conduct at GAFB was discretionary, and the first
 2     criterion of the discretionary function exception is satisfied because Plaintiffs
 3     cannot point to any mandatory federal language that prescribes a specific course of
 4     conduct that the United States failed to follow regarding use, disposal, remediation,
 5     or warnings related to alleged toxic, hazardous, or radioactive waste at GAFB.
 6                       iii. The Discretionary Function Exception’s Second Criterion Is
 7                            Satisfied Because Plaintiffs Fail to Rebut the Presumption that
 8                            the Challenged Governmental Conduct Is Grounded in Policy
 9                            Considerations.
10             Because the first criterion of discretionary function exception is satisfied and
11     the challenged conduct at GAFB was discretionary, the second criterion of the
12     discretionary function exception requires Plaintiffs to rebut the presumption that
13     the United States’ actions were grounded in policy in order to establish subject-
14     matter jurisdiction. However, Plaintiffs have made no such showing.
15             Given the important national security policies that were underlying the
16     mission of the Air Force at GAFB, there is a strong presumption that military
17     policy considerations underlie the government operational decisions that were
18     made at GAFB. Lorsch v. United States, 14-CV-2202, 2015 WL 6673464, at *6
19     (C.D. Cal. 2015) (finding that when “the very existence of the regulation[s]”
20     allows for discretion, a “strong presumption” of policy considerations is
21     established); Dichter-Mad, 707 F. Supp. 2d at 1035 (“[T]he Government sets forth
22     a number of general, broad principles governing the SEC’s duties and functions.
23     These legal assertions establish that the alleged wrongs were done in the course of
24     the SEC’s exercise of its discretion . . . Accordingly, there is ‘a strong
25

26     States, 13-CV-947, 2014 WL 2780271, at *6 (D.S.C. June 19, 2014) (holding that
27     Air Force’s decisions in the 1940s and 1950s related to the use, disposal, and
       remediation of TCE or PCE, maintenance or monitoring of water systems, and
28
       public notification of contamination were discretionary).

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 1     presumption’ that the alleged acts were ‘based on considerations of public policy,’
 2     and Plaintiffs bear the burden of rebutting this presumption.”) (quoting Gaubert,
 3     499 U.S. at 323). Department of the Air Force regulations provide for the United
 4     States Air Force “to provide an Air Force that is capable, in conjunction with the
 5     other armed forces, of-- (1) preserving the peace and security, and providing for
 6     the defense, of the United States . . . (2) supporting the national policies; (3)
 7     implementing the national objectives; and (4) overcoming any nations responsible
 8     for aggressive acts that imperil the peace and security of the United States.” 10
 9     U.S.C. § 9062(a). In addition, the United States Air Force “shall be organized,
10     trained, and equipped primarily for prompt and sustained offensive and defensive
11     air operations” and “is responsible for the preparation of the air forces necessary
12     for the effective prosecution of war . . . and, in accordance with integrated joint
13     mobilization plans, for the expansion of the peacetime components of the Air
14     Force to meet the needs of war.” 10 U.S.C. § 9062(c).
15             Here, any decisions that the Air Force might have made regarding use,
16     disposal, remediation, and warnings related to alleged toxic, hazardous, and
17     radioactive waste at GAFB were subject to the defense, and security policies and
18     considerations underlying the broader military mission. These decisions were
19     intertwined with policies and resource priorities for investigation, remediation, and
20     notification related to mission execution. This includes the general mission of the
21     United States Air Force and the specific mission of the units at GAFB. Relevant
22     policy considerations that the military at former GAFB would have had to balance
23     included: the need to maintain sufficient services and resources to operate the base
24     at all times; the need to maintain military equipment for training and deployment;
25     the prioritization of limited financial resources to meet military objectives; the
26     monitoring of the base for any regulated substances, and overall compliance with
27     the Department of Defense’s mission.
28             Plaintiffs cannot rebut the strong presumption that the Air Force’s decisions


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 1     regarding use, disposal, remediation, and warnings related to alleged toxic,
 2     hazardous, and radioactive waste at GAFB were grounded in policy. To rebut
 3     such a presumption and “survive a motion to dismiss,” Plaintiffs must show that
 4     “the challenged actions are not the kind of conduct that can be said to be grounded
 5     in the policy of the regulatory regime.” Gaubert, 499 U.S. at 324-25. Here,
 6     Plaintiffs fail to allege any facts in the SAC demonstrating that the Air Force’s
 7     decisions at GAFB were not grounded in policy, as the Air Force’s decisions at
 8     GAFB necessarily implicated policy considerations. Thus, the second criterion of
 9     the discretionary function exception is satisfied.
10             Indeed, the Ninth Circuit and California district courts have repeatedly
11     dismissed FTCA claims challenging military and wartime decisions regarding use,
12     disposal, environmental investigation, remediation, and warnings related to alleged
13     environmental contaminants, finding the discretionary function exception to apply
14     based on considerations of public policy. See, e.g., Savary, 205 F.3d 1352, at *3-4
15     (holding that decisions of the Army and NASA regarding waste disposal, cleanup,
16     safety, supervision, and warnings were subject to policy considerations); In re
17     Consol. U.S. Atmospheric Testing Litig., 820 F.2d at 997 (“The program required
18     difficult judgments balancing the magnitude of the risk from radiation exposure—
19     of which there was only fragmentary knowledge—against the risks and burdens of
20     a public program. Those risks included the potential consequences of creating
21     public anxiety and the health hazards inherent in the medical responses to the
22     warning.”); City of Lincoln, 283 F. Supp. 3d at 904 (noting that “[n]umerous
23     courts, analyzing the military's allocation of resources involving waste
24     management during the 1950s and '60s, have found those decisions susceptible to
25     policy analysis” and reaching the same conclusion with respect to the disposal of
26     hazardous waste from an intercontinental ballistic missile facility in the 1960s)
27     (citation omitted); Welsh, 2009 WL 250275, at *1 (analyzing Army decisions to
28     parcel off Fort Ord property, to lease and sell the property, and on remediation of


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 1     the property, and holding that “[t]hese kinds of judgments implicate policy choices
 2     and decisions of the type that Congress intended to protect from judicial second
 3     guessing and therefore satisfy the second prong of [discretionary function
 4     exception].”); Shea Homes, 397 F. Supp. 2d at 1200-01 (holding that the Army
 5     Corps of Engineers' decisions on how to evaluate and address public health and
 6     environmental hazards from remediation at former Hamilton Air Force Base
 7     property were of the kind implicating policy choices and were barred from suit by
 8     the discretionary function exception). 5
 9

10
       5  Numerous other circuit and district courts have held the same. See, e.g., Ross,
       129 Fed. Appx. at 452 (“[T]he procedures involved in deciding when and how
11
       much to tell plaintiffs about the TCE contamination at the Base implicate similar
12     policy concerns to those involved in the overall cleanup. These governmental
       decisions are grounded in policy discretion and, as such, are shielded by the
13
       discretionary function exception to the FTCA.”); Loughlin, 393 F.3d at 165
14     (holding that discretionary function exception barred warning claim because in
15
       deciding what information to release to the public about hazards detected and
       remediation steps, the agency had to weigh several factors, including the reliability
16
       of test results, whether further testing should be done, the significance of the
17     hazard, and the possibility of unnecessarily alarming residents); OSI, Inc., 285 F.3d
       at 953 (holding that “[d]isposal of waste on a military base” . . . “‘involve[s] policy
18
       choices of the most basic kind,’” as “[t]he nature of the military’s function requires
19     that it be free to weigh environmental policies against security and military
20
       concerns.”) (internal citation omitted); Aragon, 146 F.3d at 826 (where the
       military’s use and disposal of chemicals was at issue, expressing “little doubt . . .
21     the Air Force’s actions involved policy choices of the most basic kind” and that
22     “[o]perational decisions . . . were subject to defense and security considerations
       which encompass the heart of military policy.”); In re Camp Lejeune N. Carolina
23
       Water Contamination Litig., 263 F. Supp. 3d at 1354 (“As OSI and Aragon make
24     clear, the direction of resources on a military base during the Cold War is a classic
       illustration of the kind of balancing of national security and economic policies that
25
       should be protected by the discretionary function exception.”), aff'd, 774 F. App'x
26     564 (11th Cir. 2019); Horton, 2014 WL 2780271, at *6 (holding that Shaw Air
27     Force Base’s “decisions concerning the use, disposal, or remediation of TCE or
       PCE; maintenance or monitoring of water systems; or public notification of
28
       contamination were grounded in public policy.”).

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 1             In short, Plaintiffs fail to allege facts sufficient to establish that the
 2     challenged conduct at GAFB was not subject to these policy considerations.
 3     Accordingly, both criterion of the discretionary function exception are satisfied,
 4     depriving this Court of subject-matter jurisdiction over Plaintiffs’ claims.
 5             C. This Court Lacks Subject-Matter Jurisdiction over the Claims of
 6                 Plaintiffs F.V. and M.V. under the Feres Doctrine, as Their Alleged
 7                 Injuries Are Incident to Their Father’s Military Service.
 8             The Feres doctrine bars the injury claims of Plaintiffs F.V. and M.V., the
 9     children of Frank Vera III (“Vera”), as their claims are incident to Vera’s military
10     service. The FTCA provides that the United States shall be liable for tort claims
11     “in the same manner and to the same extent as a private individual under like
12     circumstances.” 28 U.S.C. § 2674. This liability, however, has been limited by
13     both statute and common law precedent. In Feres v. United States, the United
14     States Supreme Court held that injuries to service members that are incident to
15     their military service fall outside the statutory waiver of sovereign immunity in the
16     FTCA because there is no private liability “even remotely analogous” to the
17     liability a service member seeks to impose against the government for conduct
18     arising out of military service. 340 U.S. 135, 141-42 (1950). Feres bars claims for
19     injuries incident to military service, even in circumstances where the injuries are
20     latent and did not manifest themselves until after the service member’s discharge,
21     as long as the exposures occurred while the service member was on active-duty.
22     See Monaco v. United States, 661 F.2d 129, 132-33 (9th Cir. 1981) (holding that
23     Feres precluded a service member’s claim despite radiation-induced cancer not
24     manifesting itself until after discharge). The Ninth Circuit has further recognized
25     the “genesis test,” which bars injury claims of family members when their injuries
26     have their “genesis in injuries to members of the armed forces.” Ritchie v. United
27     States, 733 F.3d 871, 875 (9th Cir. 2013) (internal citation omitted).
28



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 1             To determine whether a plaintiff’s injury claims are barred by Feres, the
 2     Supreme Court has encouraged the use of the “incident-to-service” test, which
 3     focuses on the totality of circumstances. See, e.g., United States v. Johnson, 481
 4     U.S. 681, 682-83 (1987); United States v. Shearer, 473 U.S. 52, 57 (1985).
 5     Following the Supreme Court’s guidance, the Ninth Circuit has identified four,
 6     non-exclusive factors that are relevant to determining whether Feres bars a claim:
 7     (1) the place where the alleged negligent act occurred; (2) the plaintiff’s duty status
 8     at the time of the alleged negligent act; (3) the benefits accruing to the plaintiff
 9     because of his status as a service member; and (4) the nature of the plaintiff’s
10     activities at the time of the alleged negligent act. See Bon v. United States, 802
11     F.2d 1092, 1094 (9th Cir. 1986) (internal citation omitted). In addition to weighing
12     these four factors, however, courts in the Ninth Circuit typically examine cases that
13     are most factually analogous to determine whether Feres bars the plaintiff’s suit.
14     Costo v. United States, 248 F.3d 863, 867 (9th Cir. 2001) (“[C]omparison of fact
15     patterns to outcomes in cases that have applied the Feres doctrine is the most
16     appropriate way to resolve Feres doctrine cases.”) (internal citation omitted).
17             When applying the Ninth Circuit factors, it is clear that Feres would bar any
18     injury claim brought by Vera because his alleged injuries stem from exposure to
19     contaminants at GAFB and are incident to his active military status. Additionally,
20     he received medical treatment through the military for his alleged injuries. 6
21     Presumably, the clear Feres bar stopped Vera from asserting any individual claims
22     in this action, despite the SAC alleging that Vera “lived on former George Air
23     Force Base from approximately January 1973 to May 1974 and was exposed to
24
       6  Vera maintains a public website on which he acknowledges, not only that his
25
       alleged injuries were incident to service, but that he received treatment and benefits
26     for his alleged injuries based on his status as a service member and, later, as a
27     military veteran. See Frank Vera’s GAFB Website, available at
       https://www.georgeafb.info/frank-vera/ (last accessed on June 2, 2022).
28



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 1     toxic contamination at former George Air Force Base that effects organs and
 2     remains in the body for many years after exposure.” 7 [SAC, Dkt. 13, ¶¶ 49-50.]
 3             Moreover, the alleged injuries of Plaintiffs F.V. and M.V. are directly tied to
 4     Vera’s Feres barred injuries. Specifically, the SAC alleges that Vera “came to
 5     believe” that the alleged injuries of F.V. and M.V. “were more likely than not
 6     caused by his exposure to toxic contamination on former George Air Force Base.”
 7     [SAC, Dkt. 13, ¶¶ 49-50 (emphasis added).] Consequently, the alleged injuries of
 8     F.V. and M.V. have their “genesis in injuries to members of the armed forces” and
 9     thus are Feres barred under the genesis test. See Ritchie, 733 F.3d at 875.
10             The Ninth Circuit barred nearly identical injury claims applying the genesis
11     test in Monaco. See 661 F.2d at 133-34. Monaco involved claims brought by a
12     retired service member, Daniel Monaco, and his daughter, Denise Monaco. Denise
13     Monaco alleged that she had suffered a birth defect due to a chromosomal change
14     in her father, resulting from his exposure to radiation during active military
15     service, while engaged in training exercises. Id. at 133-34. Denise Monaco argued
16     that the Feres doctrine could not bar her claim, as the chromosomal change to her
17     father was not an “injury” to him, nor was she a military service-member. Id. at
18     133. Upon review, the Ninth Circuit confirmed that, when applying the Feres
19     doctrine, the focus is whether the allegedly negligent act that ultimately resulted in
20     Denise Monaco’s injury occurred while her father was in military service. Id.
21     Since Daniel Monaco experienced the chromosomal change incident to his military
22     service, the Ninth Circuit determined that Denise Monaco’s claims were barred
23     under Feres. Monaco, 661 F.2d at 133-34. Moreover, although Denise Monaco’s
24     claims involved injuries to herself, rather than indemnity for her father’s injuries,
25     the court would still have to examine the Government’s activity in relation to
26     military personnel, “precisely [the] type of examination the Feres doctrine seeks to
27
       7 During the pre-motion Conference of Counsel required by L.R. 7.3, Plaintiffs’
28
       counsel confirmed that Vera is not asserting any individual claims in this action.

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 1     avoid.” Id. at 134; see also Ritchie, 733 F.3d at 875 (barring claim for death of son
 2     after pregnant servicewoman on active military duty was ordered to perform
 3     physical training in contravention to her doctor’s orders); Persons v. United States,
 4     925 F.2d 292, 296-97 (9th Cir. 1991) (barring claim of widow and child after
 5     serviceman committed suicide while on active military duty).
 6             The Ninth Circuit’s genesis test mirrors the logic followed by other courts
 7     when confronted with claims for genetic injuries and birth defects stemming from
 8     a service member’s exposure to various chemical agents and substances. See, e.g.,
 9     Minns v. United States, 155 F.3d 445, 449-51 (4th Cir. 1998) (barring claims by
10     children born with serious birth defects resulting from father's exposure to toxins
11     and pesticides given to servicemen in Persian Gulf War); In re "Agent Orange"
12     Prod. Liab. Litig. (“Agent Orange II”), 818 F.2d 201, 203 (2d Cir. 1987) (barring
13     claims by children resulting from father's exposure to defoliant); Hinkie v. United
14     States, 715 F.2d 96, 98 (3d Cir. 1983) (barring wife’s and children's genetic injury
15     claims arising out of father's exposure to radiation); Gaspard v. United States, 713
16     F.2d 1097, 1102 (5th Cir. 1983) (barring claims related to miscarriages resulting
17     from chromosomal damage suffered by husbands incident to service in the
18     military); Lombard v. United States, 690 F.2d 215, 225 (D.C. Cir. 1982) (barring
19     claims by children alleging injuries sustained by serviceman's exposure to radiation
20     during atomic bomb project).
21             Here, Plaintiffs F.V. and M.V. claim to suffer various conditions, including
22     birth defects and premature birth, as a direct result of their father’s alleged
23     exposure to toxic contamination at GAFB while on active military duty. [SAC,
24     Dkt. 13, ¶¶ 49-50]. Given the standards set by the Supreme Court and the Ninth
25     Circuit, it is clear that the Feres doctrine bars any individual claims by Vera, as
26     well as the derivative claims of Plaintiffs F.V. and M.V. As in Monaco, but for
27     Feres, the claims of Plaintiffs F.V. and M.V. would inherently require the Court to
28     examine discretionary decisions by the Air Force regarding use, disposal,


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 1     remediation, or warnings related to alleged toxic, hazardous, or radioactive waste
 2     at GAFB and how those decisions and activities related to Vera, an active service
 3     member. 661 F.2d at 133-34; see also Agent Orange II, 818 F.2d at 203-04 (noting
 4     that Feres bars cases brought by family members where plaintiffs’ allegations of
 5     wrongdoing relate directly to management of the military or involve military
 6     decisions whose nature may be considered “discretionary functions”).
 7              In light of the circumstances surrounding Vera’s alleged exposure to toxic,
 8     hazardous, and radioactive waste and because the genesis of F.V.’s and M.V.’s
 9     alleged injuries in said exposure, the Feres doctrine bars Plaintiff F.V.’s and
10     Plaintiff M.V.’s claims, and the Court should dismiss their claims with prejudice.
11     II.      This Lawsuit Should Be Dismissed under FRCP 12(b)(6) for Failure to
12              Comply with Federal Pleading Standards.
13           A. FRCP 12(b)(6) Requires Plaintiffs to Plead Facts Sufficiently Specific to
14              Allege a Claim Plausible on its Face.
15              FRCP 12(b)(6) provides that where a plaintiff fails to articulate specific
16     grounds upon which relief may be granted, a defendant may move to dismiss the
17     allegations against it. “A Rule 12(b)(6) motion tests the legal sufficiency of the
18     claims asserted in a complaint.” United States, et al. v. San Bernardino Mountains
19     Cmty. Dist., et al., 17-CV-00002, 2018 WL 5266867, at *3 (C.D. Cal. Sept. 27,
20     2018). Dismissal under FRCP 12(b)(6) is appropriate “where the complaint lacks a
21     cognizable legal theory or sufficient facts to support a cognizable legal theory.” Id.
22     (citing Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir.
23     2008)). “Factual allegations must be enough to ‘raise a right to relief above a
24     speculative level.’” Id. (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
25     (2007)).
26              “In resolving a Rule 12(b)(6) motion under Twombly, the Court must follow
27     a two-pronged approach.” In re Toyota Motor Corp., 785 F. Supp. 2d 883, 910
28     (C.D. Cal. 2011). “First, the Court must accept all well-pleaded factual allegations


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 1     as true, but ‘[t]hread-bare recitals of the elements of a cause of action, supported
 2     by mere conclusory statements, do not suffice.’” Id. (quoting Ashcroft v. Iqbal,
 3     129 S. Ct. 1937, 1949 (2009)). “Nor must the Court ‘accept as true a legal
 4     conclusion couched as a factual allegation.’” Id. (quoting Twombly, 550 U.S. at
 5     555); see also Iqbal, 129 S. Ct. at 1949–50. “Second, assuming the veracity of
 6     well-pleaded factual allegations, the Court must ‘determine whether they plausibly
 7     give rise to an entitlement to relief.’” Id. (quoting Iqbal, 129 S. Ct. at 1950). “This
 8     determination is context-specific, requiring the Court to draw on its experience and
 9     common sense; there is no plausibility ‘where the well-pleaded facts do not permit
10     the court to infer more than the mere possibility of misconduct.’” Id.
11             Additionally, “Rule 12(b)(6) is read along with Rule 8(a), which requires a
12     short, plain statement upon which a pleading shows entitlement to relief.” Plater
13     v. United States, 359 F. Supp. 3d 930, 936 (C.D. Cal. 2018) (citing Fed. R. Civ. P.
14     8(a)(2)). Specifically, Rule 8 requires a complaint to (1) “contain sufficient
15     allegations of underlying facts to give fair notice and to enable the opposing party
16     to defend itself effectively” and (2) “the factual allegations that are taken as true
17     must plausibly suggest an entitlement to relief, such that it is not unfair to require
18     the opposing party to be subjected to the expense of discovery and continued
19     litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
20             As the analysis below reveals, each plaintiff in this matter fails to meet the
21     federal pleading standards articulated by Twombly and Iqbal.
22         B. The SAC Lacks the Factual Support Necessary to State a Claim for Any
23             Individual Plaintiff.
24             Plaintiffs’ SAC consists of approximately 50 separate, individual personal
25     injury claims and fails to include the factual specificity and detail required to state
26     a plausible claim on behalf of any individual plaintiff. The SAC includes one
27     paragraph of allegations for each individual plaintiff, and the remainder of the SAC
28



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 1     primarily consists of sweeping and conclusory allegations against the United
 2     States. Thus, the SAC is deficient in multiple respects.
 3             As an initial matter, the SAC fails to plead the necessary factual support
 4     regarding each plaintiff’s exposure claim. Not only does each plaintiff fail to
 5     identify any specific contaminant(s) underlying the plaintiff’s exposure claim, each
 6     plaintiff also fails to provide details about when, where, or how any alleged
 7     exposure took place. Considering that nearly all of the plaintiffs in this case claim
 8     exposure to contaminants while living at GAFB, they should be able to provide
 9     basic information about where on the base the plaintiff spent time while living
10     there, what activities the plaintiff engaged in on the base, and the specific basis for
11     believing that he or she was exposed to contaminants while on the base. [SAC,
12     Dkt. 13, ¶¶ 5-55.] Rather than providing this necessary factual detail, however, the
13     SAC simply identifies dozens of substances found at GAFB during the Air Force’s
14     environmental cleanup efforts and asserts in blanket fashion that each plaintiff was
15     exposed to unidentified “toxic, hazardous, and radioactive waste” by virtue of
16     living at or near the base. [SAC, Dkt. 13, ¶¶ 62-79.] This is despite the fact that
17     GAFB was a 5000+ acre base that operated during the four-plus decades between
18     1941 and 1992, whereas the majority of plaintiffs assert living at GAFB for only a
19     handful of years during the 1970s and 1980s. [SAC, Dkt. 13, ¶¶ 5-55.] Some
20     plaintiffs like Plaintiff Dorothy Lynn Boddy even acknowledge living at GAFB for
21     less than a year. [SAC, Dkt. 13, ¶ 10.]
22             Moreover, the SAC fails to provide the necessary factual detail regarding
23     each plaintiff’s alleged injuries. Rather than providing facts about when each
24     plaintiff discovered his or her alleged injuries, the SAC alleges in blanket fashion
25     that “[s]ometime after January 2019” each plaintiff “came to believe that these
26     injuries were more likely than not caused by exposure to toxic contamination while
27     living on former George Air Force Base.” [SAC, Dkt. 13, ¶¶ 5-55.] Additionally,
28     not a single plaintiff identifies the contaminant(s) that he or she reasonably


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 1     believes caused his or her alleged injuries or the basis for believing that these
 2     alleged injuries were caused by exposure to contaminants at GAFB. This
 3     deficiency is particularly stark because each plaintiff alleges a laundry list of
 4     claimed injuries ranging from conditions like high blood pressure, arthritis, and
 5     carpal tunnel syndrome to conditions like endometriosis, Hodgkin’s lymphoma,
 6     and leukemia. [SAC, Dkt. 13, ¶¶ 5-55.]
 7             Lastly, Plaintiffs’ negligence cause of action fails to adequately define and
 8     identify the underlying facts regarding the alleged negligent wrongful conduct of
 9     the United States. [SAC, Dkt. 13, ¶¶ 80-90.] Instead, the relevant allegations
10     primarily consist of unsupported conclusory statements and a formulaic recitation
11     of the elements for a negligence claim. For example, Plaintiffs allege that the
12     United States “had a duty to act with reasonable and due care for the safety of
13     others” and “knew or should have known that its actions, omissions, and failures to
14     act posed a threat to human health and created the dangerous condition in and
15     around an area that was frequented by the civilian residents, visitors, and workers
16     on and around former George Air Force Base.” [SAC, Dkt. 13, ¶¶ 82, 84.]
17     However, Plaintiffs fail to point to any specific negligent conduct or provide any
18     factual detail about the alleged governmental conduct constituting “specific
19     actions, omissions, or failure to act.” [SAC, Dkt. 13, passim.] Instead, Plaintiffs
20     rely solely on blanket allegations regarding the Air Force’s use, disposal, and
21     warnings related to undefined “toxic, hazardous, and radioactive substances”
22     during the four-plus decades that GAFB operated between 1941 and 1992,
23     notwithstanding the actual years that any plaintiff lived at GAFB. [SAC, Dkt. 13,
24     ¶¶ 85-87.] Simply put, the United States is unable to properly investigate and
25     evaluate Plaintiffs’ allegations or marshal its own defenses without receiving at
26     least the basic identifying information required by FRCP 12(b)(6).
27             Because the SAC lacks the requisite factual specificity, Plaintiffs have failed
28     to allege facially plausible claims against the United States upon which relief can


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 1     be granted. Accordingly, Plaintiffs’ SAC should be dismissed. See, e.g.,
 2     Esteghlalian v. Dep’t of the Navy, 19-CV-01808, 2020 WL 3250611, at *3 (S.D.
 3     Cal. Jun. 16, 2020) (“Here, Plaintiff does not plead any facts alleging the Navy's
 4     duty of care toward Plaintiff, a breach of that duty, or proximate cause resulting in
 5     her claimed injuries. Plaintiff merely makes legal conclusions alleging the Navy is
 6     responsible for her property damage and medical issues without providing any
 7     specific facts to support these claims.”); Lopez v. County of Los Angeles, 15-CV-
 8     01745, 2015 WL 3913263, at *3-4 (C.D. Cal. Jun. 25, 2015) (“The complaint does
 9     not provide a coherent explanation of the basis for defendants' liability . . .
10     Consequently, plaintiffs have failed to state a wrongful death claim under Rule 8,
11     Twombly, and Iqbal, and the claim must be dismissed for this reason as well.”).
12     III.    Plaintiffs’ SAC Should Be Dismissed with Prejudice and Without Leave
13             to Amend.
14             District courts have discretion in determining whether to allow a plaintiff the
15     opportunity to amend the complaint. While Rule 15 admittedly embodies a liberal
16     amendment policy, the Ninth Circuit and Central District of California have
17     recognized that “a Court does not need to grant leave to amend in cases where the
18     Court determines that permitting a plaintiff to amend would be an exercise in
19     futility.” Curten v. Recontrust Co., 12-CV-9565, 2013 WL 12081084, at *2 (C.D.
20     Cal. Jan. 23, 2013); Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738
21     (9th Cir. 1987) (“Denial of leave to amend is not an abuse of discretion where the
22     pleadings before the court demonstrate that further amendment would be futile.”).
23     Amendment is futile “if no set of facts can be proved under the amendment to the
24     pleadings that would constitute a valid and sufficient claim or defense.” Del Toro
25     v. 360 P’Ship LP, 21-CV-1216, 2021 WL 5050057, at *1 (C.D. Cal. Nov. 1, 2021)
26     (citing Barahona v. Union Pac. R.R., 881 F. 3d 1122, 1134 (9th Cir 2018)).
27             Here, allowing Plaintiffs to amend their SAC would be futile. As an initial
28     matter, Plaintiffs have already amended their complaint two times in this case, and


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 1     during the parties’ L.R. 7-3 Conference of Counsel, they declined the United
 2     States’ offer of attempting to fix the aforementioned deficiencies by amending the
 3     SAC. Moreover, even if Plaintiffs were able to provide additional facts to support
 4     their exposure, personal injury, and negligence allegations, Plaintiffs cannot allege
 5     facts sufficient to establish that their claims fall outside of the discretionary
 6     function exception or the Feres bar for the reasons explained in Sections I.B. and
 7     I.C. above. Accordingly, Plaintiffs’ SAC should be dismissed with prejudice and
 8     without leave to amend.
 9                                               CONCLUSION
10             For all of the foregoing reasons, this Court should grant the United States’
11     motion to dismiss Plaintiffs’ SAC with prejudice and without leave to amend.
12      Dated: June 2, 2022
13
                                                      Respectfully submitted,

14
                                                      J. PATRICK GLYNN
                                                      Director, Torts Branch
15                                                    BRIDGET BAILEY LIPSCOMB
                                                      Assistant Director
16                                                    ROSEMARY C. YOGIAVEETIL
                                                      Trial Attorney
17
                                                      /s/Haroon Anwar
18                                                    Haroon Anwar
                                                      (IN Bar No. 29135-53)
19                                                    Trial Attorney
20                                                    Attorneys for Defendant
21
                                                      United States of America
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 1                                     CERTIFICATE OF SERVICE
 2             The undersigned hereby certifies that he is an employee of the United States
 3     Department of Justice, and is a person of such age and discretion to be competent
 4     to serve papers. The undersigned further certifies that he is causing a copy of the
 5     foregoing Notice of Motion to Dismiss and Memorandum of Points and
 6     Authorities in Support, to be served on counsel of record by the Court’s Electronic
 7     Case Filing System.
 8             I declare under penalty of perjury that the foregoing is true and correct.
 9

10             Executed June 2, 2022 in Washington, DC
11

12
                                                       /s/ Haroon Anwar
                                                       Haroon Anwar
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